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                                              So ordered by the court.



                                      J. C A M PB EL L B A RK ER
                                      United States District Judge
